                 Case 1:23-cv-00071-ADA Document 37 Filed 01/26/24 Page 1 of 1

                                            United States District Court
                                             Western District of Texas
                                                      Austin
                                                Deficiency Notice


To:              Zito, Joseph J.
From:            Court Operations Department, Western District of Texas
Date:            Friday, January 26, 2024
Re:              01:23-CV-00071-ADA / Doc # 36 / Filed On: 01/26/2024 11:53 AM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) Other
   Remarks: Withdrawal of counsel must be done by Motion to Withdraw as Attorney and include a proposed order
(omitting the word "proposed" from the order's title. Please refile as a motion. Additionally you will need to refile the
same in all cases where Mr. Ramey is being withdrawn. PLEASE CORRECT THE DIVISION IN CASE STYLE
